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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:14CR00152-03-JLH

BILLY TAD EARNEST                                                                     DEFENDANT

                                              ORDER

       Billy Tad Earnest has filed a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct

his sentence. The Court directs the United States to file a response within thirty days from the entry

of this Order.

       IT IS SO ORDERED this 19th day of September, 2016.



                                                      __________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
